Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.18   Filed 05/09/25   Page 1 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.19   Filed 05/09/25   Page 2 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.20   Filed 05/09/25   Page 3 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.21   Filed 05/09/25   Page 4 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.22   Filed 05/09/25   Page 5 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.23   Filed 05/09/25   Page 6 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.24   Filed 05/09/25   Page 7 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.25   Filed 05/09/25   Page 8 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.26   Filed 05/09/25   Page 9 of 16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.27   Filed 05/09/25   Page 10 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.28   Filed 05/09/25   Page 11 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.29   Filed 05/09/25   Page 12 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.30   Filed 05/09/25   Page 13 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.31   Filed 05/09/25   Page 14 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.32   Filed 05/09/25   Page 15 of
                                      16
Case 1:25-cv-00542-RJJ-PJG   ECF No. 1-1, PageID.33   Filed 05/09/25   Page 16 of
                                      16
